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                               Nebraska Supreme Court Advance Sheets
                                        305 Nebraska Reports
                                                  STATE v. GUZMAN
                                                  Cite as 305 Neb. 376



                                        State of Nebraska, appellee, v.
                                          Victor Guzman, appellant.
                                                    ___ N.W.2d ___

                                          Filed March 27, 2020.    No. S-19-056.

                 1. Effectiveness of Counsel: Appeal and Error. Assignments of error
                    on direct appeal regarding ineffective assistance of trial counsel must
                    specifically allege deficient performance, and an appellate court will not
                    scour the remainder of the brief in search of such specificity.
                 2. Sentences: Appeal and Error. When a defendant challenges a sentence
                    imposed by the district court as excessive and the State believes the
                    sentence to be erroneous but has not complied with Neb. Rev. Stat.
                    § 29-2315.01 (Cum. Supp. 2018) or Neb. Rev. Stat. § 29-2321 (Reissue
                    2016), the State may not assert such error via a cross-appeal.
                 3. Appeal and Error. An appellate court may, at its option, notice plain
                    error.
                 4. Sentences: Statutes: Appeal and Error. A sentence that is contrary
                    to the court’s statutory authority is an appropriate matter for plain
                    error review.
                 5. Motions to Suppress: Confessions: Constitutional Law: Miranda
                    Rights: Appeal and Error. In reviewing a motion to suppress a
                    statement based on its claimed involuntariness, including claims that
                    law enforcement procured it by violating the safeguards established
                    by the U.S. Supreme Court in Miranda v. Arizona, 384 U.S. 436, 86
                    S. Ct. 1602, 16 L. Ed. 2d 694 (1966), an appellate court applies a
                    two-part standard of review. Regarding historical facts, an appellate
                    court reviews the trial court’s findings for clear error. Whether those
                    facts meet constitutional standards, however, is a question of law,
                    which an appellate court reviews independently of the trial court’s
                    determination.
                 6. Miranda Rights: Right to Counsel. In order to require cessation of
                    custodial interrogation, the subject’s invocation of the right to counsel
                    must be unambiguous and unequivocal.
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            Nebraska Supreme Court Advance Sheets
                     305 Nebraska Reports
                             STATE v. GUZMAN
                             Cite as 305 Neb. 376
 7. Motions for Mistrial: Appeal and Error. Decisions regarding motions
    for mistrial are directed to the discretion of the trial court, and will be
    upheld in the absence of an abuse of discretion.
 8. Trial: Prosecuting Attorneys: Appeal and Error. When considering
    a claim of prosecutorial misconduct, an appellate court first considers
    whether the prosecutor’s acts constitute misconduct.
 9. Trial: Prosecuting Attorneys: Words and Phrases. Prosecutorial mis-
    conduct encompasses conduct that violates legal or ethical standards
    for various conducts because the conduct will or may undermine a
    defendant’s right to a fair trial.
10. Witnesses: Impeachment. Generally, the credibility of a witness may
    be attacked by any party, including the party who called the witness.
11. ____: ____. One means of attacking the credibility of a witness is by
    showing inconsistency between his or her testimony at trial and what he
    or she said on previous occasions.
12. ____: ____. A party cannot impeach his or her own witness without
    limitation.
13. Motions to Dismiss: Directed Verdict: Waiver: Appeal and Error. A
    defendant who moves for dismissal or a directed verdict at the close of
    the evidence in the State’s case in chief in a criminal prosecution and
    who, when the court overrules the dismissal or directed verdict motion,
    proceeds with trial and introduces evidence, waives the appellate right
    to challenge correctness in the trial court’s overruling the motion for
    dismissal or a directed verdict but may still challenge the sufficiency of
    the evidence.
14. Convictions: Evidence: Appeal and Error. Regardless of whether
    the evidence is direct, circumstantial, or a combination thereof, and
    regardless of whether the issue is labeled as a failure to direct a verdict,
    insufficiency of the evidence, or failure to prove a prima facie case, the
    standard is the same: In reviewing a criminal conviction, an appellate
    court does not resolve conflicts in the evidence, pass on the credibility
    of witnesses, or reweigh the evidence; such matters are for the finder
    of fact, and a conviction will be affirmed, in the absence of prejudicial
    error, if the evidence admitted at trial, viewed and construed most favor-
    ably to the State, is sufficient to support the conviction.
15. Criminal Law: Evidence: Appeal and Error. When a criminal
    defend­ant challenges the sufficiency of the evidence upon which a
    conviction is based, the relevant question for an appellate court is
    whether, after viewing the evidence in the light most favorable to the
    prosecution, any rational trier of fact could have found the essential
    elements of the crime beyond a reasonable doubt.
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           Nebraska Supreme Court Advance Sheets
                    305 Nebraska Reports
                             STATE v. GUZMAN
                             Cite as 305 Neb. 376
16. Sentences: Appeal and Error. An appellate court will not disturb a sen­
    tence imposed within the statutory limits absent an abuse of discretion
    by the trial court.
17. Appeal and Error. Plain error may be found on appeal when an error
    unasserted or uncomplained of at trial is plainly evident from the
    record, affects a litigant’s substantial right, and, if uncorrected, would
    result in damage to the integrity, reputation, and fairness of the judi-
    cial process.
18. Sentences: Appeal and Error. Where a sentence imposed within the
    statutory limits is alleged on appeal to be excessive, the appellate court
    must determine whether a sentencing court abused its discretion in con-
    sidering and applying the relevant factors as well as any applicable legal
    principles in determining the sentence to be imposed.
19. ____: ____. The failure to impose an indeterminate sentence when
    required by statute constitutes plain error.
20. ____: ____. An appellate court has the power on direct appeal to remand
    a cause for the imposition of a lawful sentence where an erroneous one
    has been pronounced.

  Appeal from the District Court for Sarpy County: Stefanie
A. Martinez, Judge. Affirmed in part, and in part vacated and
remanded for resentencing.
   Gregory A. Pivovar for appellant.
   Douglas J. Peterson, Attorney General, and Nathan A. Liss
for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Cassel, J.
                     I. INTRODUCTION
   Victor Guzman appeals from convictions, pursuant to jury
verdict, and sentences for first degree sexual assault and tam-
pering with a witness.
   Two issues predominate. We again enforce our requirement
that assignments of error on direct appeal regarding ineffective
assistance of trial counsel must specifically allege deficient
performance. And we resolve the State’s uncertainty whether
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          Nebraska Supreme Court Advance Sheets
                   305 Nebraska Reports
                         STATE v. GUZMAN
                         Cite as 305 Neb. 376
sentencing error in a criminal case tried in the district court can
or must be raised by a cross-appeal—concluding that generally,
a cross-appeal is not permitted.
   We find no merit to Guzman’s claims regarding a motion to
suppress, a motion for a mistrial, insufficiency of the evidence,
and an excessive sentence for the sexual assault conviction.
But we find plain error in the sentence for witness tamper-
ing, which should have been an indeterminate rather than a
determinate sentence. We vacate that sentence and remand
the cause for resentencing, but we otherwise affirm Guzman’s
convictions and the sentence imposed for the sexual assault
conviction.
                       II. BACKGROUND
   We begin by setting forth the factual background for the
crimes charged. Bearing in mind our standard of review, we
summarize this evidence in the light most favorable to the
State. Additional background relevant to particular errors
assigned will be supplied in the analysis.
   On September 22, 2017, B.G. held a party at her apartment,
where she lived with her daughter. One of the invitees, Alexa
Thomas, brought a group of eight or nine people whom B.G.
did not know, including Guzman. B.G. consumed alcohol to
the point of being “drunk.” She also snorted cocaine. B.G.
began to feel sick and told everyone to leave. She vomited and
then lay down in her bedroom.
   B.G. heard her bedroom door open and saw a group of
unknown males standing in her doorway. She felt her clothing
being removed and her arms and legs being held. B.G. testi-
fied: “I said no. I said stop. Then I just gave up . . . [b]ecause
there was [sic] too many.” Although B.G. did not give permis-
sion for anyone to have sex with her, she could tell that more
than one male penetrated her vagina. Someone turned her head
and inserted his penis in her mouth. According to an attendee
at the party, Guzman said he had sex with B.G.
   After B.G. began crying, the males left. B.G. checked on her
daughter and then “passed out.” When B.G. woke, she called
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                       STATE v. GUZMAN
                       Cite as 305 Neb. 376
her mother and asked her to come to B.G.’s apartment. At
some point, B.G. told her mother that she had a party and “got
raped.” B.G. went to a hospital and reported to a sexual assault
nurse examiner that two assailants penetrated her vagina. A
police officer spoke with B.G. at the hospital, and she told the
officer that four to five males vaginally penetrated her with
their penises.
   Police conducted an investigation following B.G.’s report
of the incident. Thomas shared with police text messages she
exchanged with Guzman the morning after the party. In these
text messages, Guzman told Thomas that he had video of a
group of males having sex with B.G. Thomas asked if Guzman
had sex with B.G., but he replied that he “was just [the] cam-
era man.” After meeting with Thomas, an officer prepared an
affidavit for a search warrant for Guzman’s cell phones.
   The next day, officers went to Guzman’s place of employ-
ment to interview him and obtain any of his digital devices
capable of storing electronic media. Upon questioning by an
officer, Guzman consistently denied having sex with B.G.
After interviewing Guzman, police arrested him. A forensic
examination of one of Guzman’s cell phones uncovered three
short videos taken between 6:41 and 6:49 a.m. on September
23, 2017, which showed penile-vaginal intercourse with B.G.;
one video additionally showed a penis being inserted into
B.G.’s mouth.
   The tampering with a witness charge arose out of Guzman’s
October 2017 jail telephone call to Thomas. Thomas testified
that Guzman wanted her to “tell [B.G.] to drop the charges.”
Thomas complied, telling B.G. that Guzman wanted B.G. to
drop the charges.
   The jury returned verdicts of guilty on first degree sexual
assault and on tampering with a witness, and the court accepted
the verdicts. The court imposed a sentence of 12 to 20 years’
imprisonment for the sexual assault conviction and a concur-
rent sentence of 2 years’ imprisonment for the witness tamper-
ing conviction.
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             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                              STATE v. GUZMAN
                              Cite as 305 Neb. 376
   Guzman appealed. The State filed a petition to bypass review
by the Nebraska Court of Appeals—which we granted—and
asserted a purported cross-appeal in its brief.
                III. ASSIGNMENTS OF ERROR
                      1. Guzman’s Appeal
   Guzman assigns that the district court erred in (1) overrul-
ing his motion to suppress, (2) failing to grant his motion for
mistrial based on prosecutorial misconduct, (3) failing to grant
a directed verdict, and (4) imposing excessive sentences.
   Guzman also assigns that he received ineffective assistance
of trial counsel. However, he failed to comply with our pro-
nouncement regarding the specificity required for assignments
of error alleging ineffective assistance of counsel.
   [1] We declared last year that assignments of error on
direct appeal regarding ineffective assistance of trial coun-
sel must specifically allege deficient performance. 1 And we
stated that an appellate court will not scour the remainder
of the brief in search of such specificity. 2 Since announc-
ing the requirement, we have repeated it in three published
decisions. 3 The purpose of a concurring opinion released on
October 11, 2019, was to “remind the practicing bar” 4 of
the requirement and caution counsel that “briefs filed after
April 19, 2019, which fail to comply may have consequences
beyond loss of such claims.” 5
   Guzman’s brief—filed 3 months after our pronouncement—
failed to comply. His assignment of error alleged merely that
1
    See State v. Mrza, 302 Neb. 931, 926 N.W.2d 79 (2019).
2
    See id.3
    See State v. Munoz, 303 Neb. 69, 927 N.W.2d 25 (2019); State v. Blaha,
    303 Neb. 415, 929 N.W.2d 494 (2019); and State v. Lee, 304 Neb. 252,
    934 N.W.2d 145 (2019). See, also, State v. Weathers, 304 Neb. 402, 935
    N.W.2d 185 (2019).
4
    State v. Lee, supra note 3, 304 Neb. at 285, 934 N.W.2d at 168 (Cassel, J.,
    concurring).
5
    Id. at 286, 934 N.W.2d at 168 (Cassel, J., concurring).
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            Nebraska Supreme Court Advance Sheets
                     305 Nebraska Reports
                           STATE v. GUZMAN
                           Cite as 305 Neb. 376
he “received ineffective assistance of trial counsel in numerous
instances as more particularly set out hereinafter.” In Guzman’s
reply brief, he argues that the assignment of error informed us
that the particular allegations of ineffective assistance would
be set forth with more particularity. And in the heading of his
argument on the issue, Guzman identified five of the six par-
ticular deficiencies in all boldface and capital letters.
   We decline to excuse counsel’s failure to comply with our
pronouncement. Recently, the Court of Appeals exercised
judicial grace by examining a brief’s argument section for
the necessary specificity where the brief was filed 10 days
after release of the opinion announcing the requirement. 6
No such grace ought to be afforded a brief filed 3 months
after the pronouncement. Accordingly, we do not consider
Guzman’s assignment of error alleging ineffective assistance
of counsel.
             2. State’s Purported Cross-Appeal
   Using a belt-and-suspenders approach, the State raised a
sentencing matter both as plain error in its responsive brief and
in a purported cross-appeal. The State asserts that the court
erred by imposing a determinate sentence for Guzman’s wit-
ness tampering conviction. Its brief recognizes that the matter
could be deemed one of plain error, but explains that “out of
an abundance of caution and uncertainty, [the State] raise[d]
the matter in a cross[-]appeal.” 7 The State seeks guidance as
to whether it can—and must—file a cross-appeal to raise an
alleged error in sentencing where the district court was the trial
court. We address this narrow question.
   When a sentence imposed appeared to be erroneous and
the appellant did not identify the error, the State’s traditional
practice has been to broach the issue in its brief as an asser-
tion of plain error. With or without such an assertion, we have
6
    See State v. Knox, No. A-19-266, 2020 WL 215849 (Neb. App. Jan. 14,
    2020) (selected for posting to court website).
7
    Brief for appellee at 36.
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             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                              STATE v. GUZMAN
                              Cite as 305 Neb. 376
considered whether a sentence constituted plain error. 8 The
State presumably proceeded in this manner because of case law
declaring that the State has no right to cross-appeal in a crimi-
nal case when the district court is the trial court. 9
   The State suggests the appellate courts have created uncer-
tainty in this procedure by referencing the lack of a cross-
appeal in opinions where the district court was the trial court.
The Court of Appeals recently refused to address the State’s
suggestion of error in sentencing, because the State did not
cross-appeal. 10 And in two cases that did not squarely present
whether the State could cross-appeal, we stated “although the
State did not file a cross-appeal” 11 before considering sentenc-
ing errors urged as plain error by the State. To the extent this
language has created uncertainty, we disavow any suggestion
that we were implying the State could have cross-appealed in
those cases.
   The preclusion of a cross-appeal by the State in a criminal
case where the district court is the trial court relates to the
State’s limited right to appeal in a criminal case. Absent spe-
cific statutory authorization, the State generally has no right to
appeal an adverse ruling in a criminal case. 12 The Legislature
provided two avenues for such an appeal: an exception pro-
ceeding under Neb. Rev. Stat. § 29-2315.01 (Cum. Supp. 2018)
 8
     See, e.g., State v. Briggs, 303 Neb. 352, 929 N.W.2d 65 (2019); State v.
     Lessley, 301 Neb. 734, 919 N.W.2d 884 (2018); State v. Thompson, 301
     Neb. 472, 919 N.W.2d 122 (2018); State v. Vanness, 300 Neb. 159, 912
     N.W.2d 736 (2018); State v. Kidder, 299 Neb. 232, 908 N.W.2d 1 (2018);
     State v. Mora, 298 Neb. 185, 903 N.W.2d 244 (2017).
 9
     See, State v. Halsey, 232 Neb. 658, 441 N.W.2d 877 (1989); State v.
     Martinez, 198 Neb. 347, 252 N.W.2d 630 (1977); State v. Schnell, 17 Neb.
     App. 211, 757 N.W.2d 732 (2008). See, also, State v. Mortensen, 287 Neb.
     158, 841 N.W.2d 393 (2014).
10
     State v. Magallanes, No. A-18-934, 2019 WL 3934465 (Neb. App. Aug.
     20, 2019) (selected for posting to court website).
11
     See State v. Betancourt-Garcia, 295 Neb. 170, 190, 887 N.W.2d 296, 312     (2016). Accord State v. Aguallo, 294 Neb. 177, 881 N.W.2d 918 (2016).
12
     State v. Thalken, 299 Neb. 857, 911 N.W.2d 562 (2018).
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             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                            STATE v. GUZMAN
                            Cite as 305 Neb. 376
and an excessively lenient sentence appeal authorized by Neb.
Rev. Stat. § 29-2320 (Reissue 2016). 13
   The right of appeal is purely statutory. 14 A court rule pro-
vides in part that “[t]he proper filing of an appeal shall vest in
an appellee the right to a cross-appeal against any other party
to the appeal.” 15 But a court rule cannot provide a right to
appeal that does not exist in statute. And here, the State did not
comply with the statutory prerequisites to appeal, 16 the dictates
of which are to be strictly construed against the government. 17
Thus, it could not assert a cross-appeal. We express no opinion
as to whether the State could assert a cross-appeal if it had
complied with those statutory requisites.
   [2-4] When a defendant challenges a sentence imposed by
the district court as excessive and the State believes the sen-
tence to be erroneous but has not complied with § 29-2315.01
or § 29-2321, the State may not assert such error via a cross-
appeal. We see no error in the traditional procedure where the
State identifies any plain sentencing errors in its responsive
brief. An appellate court may, at its option, notice plain error. 18
A sentence that is contrary to the court’s statutory authority is
an appropriate matter for plain error review. 19
                       IV. ANALYSIS
                   1. Motion to Suppress
                  (a) Additional Background
   Law enforcement officers interviewed Guzman and recorded
the conversation. When Guzman was brought into a room at
13
     See State v. Vasquez, 271 Neb. 906, 716 N.W.2d 443 (2006).
14
     State v. Thalken, supra note 12.
15
     Neb. Ct. R. App. P. § 2-101(E) (rev. 2015).
16
     See, § 29-2315.01 and Neb. Rev. Stat. § 29-2321 (Reissue 2016).
17
     See State v. Stafford, 278 Neb. 109, 767 N.W.2d 507 (2009).
18
     See State v. Artis, 296 Neb. 172, 893 N.W.2d 421 (2017), modified on
     denial of rehearing 296 Neb. 606, 894 N.W.2d 349.
19
     State v. Kantaras, 294 Neb. 960, 885 N.W.2d 558 (2016).
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                        STATE v. GUZMAN
                        Cite as 305 Neb. 376
his place of employment, a detective identified himself as a
police officer and read Guzman his Miranda rights. There
is no dispute that from that point forward, Guzman was in
custody.
   Guzman moved to suppress his statements to police. He
claimed that at almost 2 hours into the interview, he “clearly
invoked his right to counsel, asking if he had the opportunity
to get a lawyer, to which officers responded no.”
   At the hearing on the motion to suppress, a detective testi-
fied that Guzman began asking questions “about when he could
get a lawyer.” According to the detective, Guzman did not say
he wanted a lawyer; rather, “he just asked about the process of
getting one.” The detective testified: “We were talking about
the search warrant. Essentially he was asking questions if he
could get an attorney to deal with . . . the search warrant, if it
could be stopped.”
   The court overruled the motion to suppress. With regard to
the invocation of a right to counsel, the court stated:
      [A]t the 1 hour, 54 minute mark, [Guzman] asked officers,
      “Can I talk to a lawyer first?” . . . [W]hen putting it in
      the context of what was occurring during said exchange,
      the Court finds that [Guzman] did not clearly invoke his
      rights. Specifically, law enforcement [officers were] in
      the process of searching [Guzman’s] phone, and while
      doing so, [Guzman] was conversing with them about the
      search and asked if he could speak with a lawyer before
      they searched his phone. [They] informed him that they
      already had a search warrant and that he did not get to
      speak to an attorney before they conducted the search.
      Thus, the Court finds that [Guzman’s] statement of “Can
      I talk to a lawyer first” was in the context of the search,
      rather than a clear invocation of his Miranda rights for
      purposes of the custodial interrogation.
                  (b) Standard of Review
  [5] In reviewing a motion to suppress a statement based
on its claimed involuntariness, including claims that law
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             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                              STATE v. GUZMAN
                              Cite as 305 Neb. 376
enforcement procured it by violating the safeguards estab-
lished by the U.S. Supreme Court in Miranda v. Arizona, 20
an appellate court applies a two-part standard of review.
Regarding historical facts, an appellate court reviews the trial
court’s findings for clear error. Whether those facts meet
constitutional standards, however, is a question of law, which
an appellate court reviews independently of the trial court’s
determination. 21
                          (c) Discussion
   On appeal, Guzman does not dispute that he waived his
Miranda rights during the custodial interrogation. “[A]fter
a knowing and voluntary waiver of the Miranda rights, law
enforcement officers may continue questioning until and unless
the suspect clearly requests an attorney.” 22 And Guzman does
not challenge the district court’s factual findings. Rather,
Guzman argues that he requested an attorney at the 1-hour-
54-minute mark of the recorded interrogation and that thus, any
statements he made should have been suppressed.
   [6] In order to require cessation of custodial interrogation,
the subject’s invocation of the right to counsel must be unam-
biguous and unequivocal. 23 “Statements such as ‘“[m]aybe
I should talk to a lawyer”’ or ‘“I probably should have an
attorney”’ do not meet this standard.” 24 Guzman contends that
his question—“‘Can I talk to a lawyer first?’”—was a clear
invocation of the right to counsel. We disagree. “An expression
of doubt or uncertainty cannot be considered unequivocal.” 25
Similarly, an Arizona court determined that “‘Do you think I
20
     Miranda v. Arizona, 384 U.S. 436, 86 S. Ct. 1602, 16 L. Ed. 2d 694     (1966).
21
     State v. Clifton, 296 Neb. 135, 892 N.W.2d 112 (2017).
22
     Davis v. United States, 512 U.S. 452, 461, 114 S. Ct. 2350, 129 L. Ed. 2d
     362 (1994).
23
     State v. Goodwin, 278 Neb. 945, 774 N.W.2d 733 (2009).
24
     Id. at 959, 774 N.W.2d at 744-45.
25
     State v. Lynch, 169 N.H. 689, 697, 156 A.3d 1012, 1019 (2017).
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                            STATE v. GUZMAN
                            Cite as 305 Neb. 376
should get a lawyer?’” does not constitute an invocation of
right to counsel. 26 Here, Guzman never explicitly stated that he
wished to have an attorney present.
   The circumstances surrounding an alleged invocation are
part of the objective inquiry into whether such an invocation
of the right to counsel was made. The U.S. Supreme Court
explained that “if a suspect makes a reference to an attorney
that is ambiguous or equivocal in that a reasonable officer in
light of the circumstances would have understood only that the
suspect might be invoking the right to counsel, [the Court’s]
precedents do not require the cessation of questioning.” 27 Here,
the officers perceived Guzman’s question about an attorney to
be in connection with the search for his cell phones and not an
assertion that Guzman did not wish to speak without an attor-
ney present. That perception was reasonable under the circum-
stances. The district court did not err in overruling Guzman’s
motion to suppress.
                     2. Motion for Mistrial
                    (a) Additional Background
   In March 2018, Ruben Rodriguez was deposed on Guzman’s
behalf. At trial, the State called Rodriguez as a witness during
the State’s case in chief. When asked where he had lived in
the past 5 years, Rodriguez provided information which was
inconsistent with his deposition testimony. When Rodriguez
testified that he saw B.G. at her party in October 2017, the
prosecutor impeached him with his deposition testimony that
the party was in September. When Rodriguez named seven
people with whom he went to the party, the State pointed out
that Rodriguez testified in his deposition that he went to the
party with four individuals. During trial, Rodriguez also gave
answers different from those in his deposition as to when he
took an individual home, how may beers he consumed at the
26
     See State v. Prince, 160 Ariz. 268, 272, 772 P.2d 1121, 1125 (1989).
27
     Davis v. United States, supra note 22, 512 U.S. at 459 (emphasis in
     original).
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                             STATE v. GUZMAN
                             Cite as 305 Neb. 376
party, whether a certain individual was at the party, whether he
saw Guzman walk B.G. up the stairs, and whether he made a
“gas station run.”
   In a conversation out of the jury’s presence and unprompted
by defense counsel, the court raised a concern that Rodriguez
provided no substantive evidence. The court opined that “the
sole purpose for hi[s] being called was to discredit him in
any testimony he may have,” which the court did not think
was permissible. The prosecutor responded that he expected
Rodriguez would testify consistently with his deposition.
Because Rodriguez did not, the prosecutor wanted “to make
sure that the record’s clear on what he’s testifying to.” The
prosecutor stated that he did not call Rodriguez “simply to
impeach him.” The court then directed the parties to brief
whether it is permissible to call a witness for the limited
purpose of discrediting the witness. With the jury present,
the court announced, “There ha[ve] been some conversations
between Counsel and I need them to follow up on something
for me, so we’re going to be recessing for the weekend a little
bit early today.”
   When trial resumed after the weekend break, Guzman
moved for a mistrial. His counsel explained that he subpoenaed
Rodriguez, because Rodriguez had exculpatory information,
but that “what the State did was discredit that witness before
[the defense] could call him and elicit the exculpatory informa-
tion.” The State argued that it “can’t control whether someone
is going to get up there and lie or not, and they [sic] had no
reason to expect them [sic] to.” The court found that there was
not sufficient evidence that the State called Rodriguez for the
purpose of impeachment.
                    (b) Standard of Review
   [7] Decisions regarding motions for mistrial are directed
to the discretion of the trial court, and will be upheld in the
absence of an abuse of discretion. 28
28
     State v. Schmaltz, 304 Neb. 74, 933 N.W.2d 435 (2019).
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                             STATE v. GUZMAN
                             Cite as 305 Neb. 376
                           (c) Discussion
   Guzman argues that the court erred in not granting his
motion for mistrial based on prosecutorial misconduct. Before
considering whether a mistrial would be proper, we must deter-
mine whether there was misconduct by the prosecution.
   [8,9] When considering a claim of prosecutorial misconduct,
an appellate court first considers whether the prosecutor’s acts
constitute misconduct. 29 Prosecutorial misconduct encompasses
conduct that violates legal or ethical standards for various con-
ducts because the conduct will or may undermine a defendant’s
right to a fair trial. 30 Prosecutors are charged with the duty
to conduct criminal trials in such a manner that the accused
may have a fair and impartial trial, and prosecutors are not to
inflame the prejudices or excite the passions of the jury against
the accused. 31 A prosecutor’s conduct that does not mislead and
unduly influence the jury is not misconduct. 32
   According to Guzman, the prosecutor engaged in misconduct
by calling Rodriguez as a witness and impeaching him with
testimony from his deposition on “trivial matters.” 33 Guzman
contends that the State attacked Rodriguez’ credibility before
Guzman could call Rodriguez as a witness.
   [10-12] Generally, the credibility of a witness may be
attacked by any party, including the party who called the wit-
ness. 34 One means of attacking the credibility of a witness is by
showing inconsistency between his or her testimony at trial and
what he or she said on previous occasions. 35 But a party cannot
impeach his or her own witness without limitation. 36
29
     Id.
30
     Id.
31
     Id.
32
     Id.
33
     Brief for appellant at 25.
34
     State v. Dominguez, 290 Neb. 477, 860 N.W.2d 732 (2015).
35
     Id.36
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   The State’s impeachment of Rodriguez does not amount
to prosecutorial misconduct. The State called Rodriguez to
testify, because he had information useful to the State’s case.
The State had no reason to anticipate that Rodriguez would
not testify consistently with his sworn deposition testimony.
Assuming without deciding that Guzman’s motion for mistrial
was timely, the court did not abuse its discretion in overruling
the motion.
              3. Motion for Directed Verdict
                  (a) Additional Background
   [13] Guzman challenges the denial of his motion for
directed verdict, but he waived the issue by presenting evi-
dence. After the court overruled Guzman’s motion for a
directed verdict of acquittal on both charges, the defense
proceeded to call a witness. A defendant who moves for dis-
missal or a directed verdict at the close of the evidence in
the State’s case in chief in a criminal prosecution and who,
when the court overrules the dismissal or directed verdict
motion, proceeds with trial and introduces evidence, waives
the appellate right to challenge correctness in the trial court’s
overruling the motion for dismissal or a directed verdict but
may still challenge the sufficiency of the evidence. 37 We con-
sider Guzman’s argument as one challenging the sufficiency
of the evidence.
                      (b) Standard of Review
   [14] Regardless of whether the evidence is direct, circum-
stantial, or a combination thereof, and regardless of whether
the issue is labeled as a failure to direct a verdict, insufficiency
of the evidence, or failure to prove a prima facie case, the stan-
dard is the same: In reviewing a criminal conviction, an appel-
late court does not resolve conflicts in the evidence, pass on
the credibility of witnesses, or reweigh the evidence; such mat-
ters are for the finder of fact, and a conviction will be affirmed,
37
     State v. Briggs, supra note 8.
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in the absence of prejudicial error, if the evidence admitted at
trial, viewed and construed most favorably to the State, is suf-
ficient to support the conviction. 38
                           (c) Discussion
   [15] When a criminal defendant challenges the sufficiency
of the evidence upon which a conviction is based, the relevant
question for an appellate court is whether, after viewing the
evidence in the light most favorable to the prosecution, any
rational trier of fact could have found the essential elements of
the crime beyond a reasonable doubt. 39 The State met its bur-
den with respect to both charges.
   With respect to the sexual assault charge, Guzman’s brief
does little more than attack the credibility of B.G. But an
appellate court does not pass on the credibility of witnesses or
reweigh the evidence. B.G. testified that she did not consent
to having sex with anyone on the night of her party, and an
attendee at the party testified that Guzman said he had sex
with B.G. There was also abundant testimony about B.G.’s
intoxication. Viewing the evidence most favorably to the State,
a fact finder could conclude that Guzman subjected B.G. to
sexual penetration without her consent or under circumstances
when he knew or should have known that B.G. was mentally
or physically incapable of resisting or appraising the nature of
her conduct. 40
   Guzman also contends that the State failed to adduce suf-
ficient evidence to support the charge of tampering with a wit-
ness. Under Neb. Rev. Stat. § 28-919(1) (Reissue 2016):
      A person commits the offense of tampering with a wit-
      ness or informant if, believing that an official proceeding
      or investigation of a criminal or civil matter is pending
      or about to be instituted, he or she attempts to induce or
      otherwise cause a witness or informant to:
38
     State v. Case, 304 Neb. 829, 937 N.W.2d 216 (2020).
39
     Id.40
     See Neb. Rev. Stat. § 28-319(1) (Reissue 2016).
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         (a) Testify or inform falsely;
         (b) Withhold any testimony, information, document,
      or thing;
         (c) Elude legal process summoning him or her to tes-
      tify or supply evidence; or
         (d) Absent himself or herself from any proceeding
      or investigation to which he or she has been legally
      summoned.
   Guzman asserts that he merely relayed a message asking
B.G. to drop the charges and that such action did not constitute
tampering with a witness. He claims that he did not threaten or
bribe B.G., did not ask her to testify falsely, and did not ask
her not to go to court. But B.G. reported that she was sexually
assaulted. By asking B.G. to drop the charges, Guzman was
essentially asking her to inform falsely or to withhold informa-
tion. The State adduced sufficient evidence at trial to support
the conviction for tampering with a witness.
                         4. Sentences
                  (a) Additional Background
   Finally, Guzman argues that his sentences were excessive.
For first degree sexual assault, a Class II felony, 41 the court
imposed a sentence of 12 to 20 years’ incarceration. At the
time of the crime and sentencing, tampering with a witness was
a Class IV felony. 42 For that conviction, the court imposed a
concurrent sentence of 2 years.
                     (b) Standard of Review
   [16] An appellate court will not disturb a sen­tence imposed
within the statutory limits absent an abuse of discretion by the
trial court. 43
   [17] Plain error may be found on appeal when an error unas-
serted or uncomplained of at trial is plainly evident from the
41
     See § 28-319(2).
42
     See § 28-919(3).
43
     State v. Iddings, 304 Neb. 759, 936 N.W.2d 747 (2020).
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record, affects a litigant’s substantial right, and, if uncorrected,
would result in damage to the integrity, reputation, and fairness
of the judicial process. 44
                          (c) Discussion
   [18] Where a sentence imposed within the statutory limits
is alleged on appeal to be excessive, the appellate court must
determine whether a sentencing court abused its discretion in
considering and applying the relevant factors as well as any
applicable legal principles in determining the sentence to be
imposed. 45 In determining a sentence to be imposed, relevant
factors customarily considered and applied are the defendant’s
(1) age, (2) mentality, (3) education and experience, (4) social
and cultural background, (5) past criminal record or record of
law-abiding conduct, and (6) motivation for the offense, as well
as (7) the nature of the offense and (8) the amount of violence
involved in the commission of the crime. 46 The appropriateness
of a sentence is necessarily a subjective judgment and includes
the sentencing judge’s observation of the defendant’s demeanor
and attitude and all the facts and circumstances surrounding the
defendant’s life. 47
   Guzman argues that an examination of the presentence report
shows the sentencing factors weigh in favor of a lighter sen-
tence. Some do. According to the presentence report, Guzman
was 21 years old, was a high school graduate, and was consist­
ently employed prior to incarceration. His minimal criminal
record consisted of traffic violations, an “MIP,” and a curfew
violation. But other considerations do not favor a light sen-
tence. An instrument designed to determine a defendant’s risk
for recidivism put him in the high risk range to reoffend. With
respect to the charges he stated: “‘Bullshit. It’s embarrassing
and has affected everyone around me. This case has ruined
44
     State v. Briggs, supra note 8.
45
     See State v. Iddings, supra note 43.
46
     Id.47
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my character. It’s the worst thing that could have happened
to me.’” We cannot say that the court abused its discretion in
sentencing Guzman.
   However, the State asserts that the court’s sentence for the
witness tampering conviction was erroneous. Here, the court
imposed a sentence for a Class II felony and a concurrent
determinate sentence for a Class IV felony for offenses occur-
ring in 2017. But a statute provides:
      For any sentence of imprisonment for a Class . . . IV fel-
      ony . . . imposed consecutively or concurrently with . . . a
      sentence of imprisonment for a Class . . . II . . . felony, the
      court shall impose an indeterminate sentence within the
      applicable range in section 28-105 that does not include a
      period of post-release supervision, in accordance with the
      process set forth in section 29-2204. 48
   [19,20] The court plainly erred by imposing a determinate
sentence for the Class IV felony. The failure to impose an inde-
terminate sentence when required by statute constitutes plain
error. 49 An appellate court has the power on direct appeal to
remand a cause for the imposition of a lawful sentence where
an erroneous one has been pronounced. 50 We therefore vacate
Guzman’s sentence for tampering with a witness and remand
the cause for resentencing on that conviction.

                       V. CONCLUSION
   Because Guzman failed to include the required specificity in
his assignment of error alleging ineffective assistance of trial
counsel, we do not consider it. And we clarify that the State
has no right to cross-appeal under these circumstances.
   We conclude that the court did not err in overruling
Guzman’s motion to suppress and motion for mistrial. Viewing
the evidence in the light most favorable to the State, we further
48
     Neb. Rev. Stat. § 29-2204.02(4) (Reissue 2016) (emphasis supplied).
49
     State v. Briggs, supra note 8.
50
     See State v. Kantaras, supra note 19.
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conclude that the evidence at trial supported Guzman’s con-
victions. Finally, we determine that the court did not impose
excessive sentences. However, because the court erred by
imposing a determinate sentence for the witness tampering
conviction, we vacate that sentence and remand the cause for
resentencing on that count only.
                    Affirmed in part, and in part vacated
                    and remanded for resentencing.
